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                     IN THE UNITED STATES BANKRUPTCY COURT
                               Eastern District of Virginia
                                   Richmond Division

 __________________________________________
                                           )
 In re: Shirley Dean Taylor                )               Case No. 17-30142-KRH
 Debtor                                    )               Chapter 13
                                           )
                                           )
 SHIRLEY DEAN TAYLOR,                      )
                                           )
                   Plaintiff,              )
                      v.                   )
                                           )               Adv. Pro. No. 18-03003-KRH
 ALLIED TITLE LENDING, LLC d/b/a ALLIED )
 CASH ADVANCE, and                         )
                                           )
 CERASTES, LLC,                            )
                                           )
                   Defendants.             )
 _________________________________________ )

         COMMONWEALTH’S MOTION FOR LEAVE TO FILE PLEADINGS IN
                          INTERVENTION

        The Plaintiff-Intervenor, Commonwealth of Virginia, by, through, and at the relation of

 the Attorney General of Virginia, Mark R. Herring (the “Intervenor” or the “Commonwealth”),

 hereby moves to intervene in the above-captioned civil action pursuant to Rule 7024 of the

 Federal Rules of Bankruptcy Procedure and Rule 24(b) of the Federal Rules of Civil Procedure.

 A true and accurate copy of the Commonwealth’s proposed Complaint in Intervention is attached

 as Exhibit A, and its Opposition to the Motion to Dismiss filed by Allied Title Lending, is

 attached as Exhibit B.

        In support of its motion, the Commonwealth states that it meets all criteria for

 intervention pursuant to Rule 24(b) and further relies upon its accompanying memorandum of

 law.

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        WHEREFORE, the Commonwealth respectfully requests to intervene in this action

 pursuant to Rule 24(b) as the Plaintiff-Intervenor.

                                                COMMONWEALTH OF VIRGINIA,
                                                EX. REL. MARK R. HERRING,
                                                ATTORNEY GENERAL


                                                By:        __/s/ Erin E. Witte______________
 Mark R. Herring
 Attorney General

 Cynthia E. Hudson
 Chief Deputy Attorney General

 Samuel T. Towell
 Deputy Attorney General

 Richard S. Schweiker, Jr.
 Chief and Senior Assistant Attorney General

 David B. Irvin (VSB No. 23927)
 Senior Assistant Attorney General
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                                       Certificate of Service

         I hereby certify that on the 8th day of November 2018, a true and accurate copy of the
 foregoing Motion for Leave to File Pleadings in Intervention was delivered via email and/or the
 electronic case filing (ECF) system to the following:

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                                 _____/s/ Erin E. Witte________
                                             Counsel




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